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IN THE UNITED STATES DISTRICT COURT BV\\FL D_C
FOR THE WESTERN DISTRICT OF TENNESSEE {_`,~5 SEP '
EASTERN DIVISION “ l PH I2
CARL EDWARD FLAKE, .i
Plaintiff, l
v. Case No. 1-03-1240-T
CECO DOOR PRODUCTS

a/k/a THE ASSA ABLOY GROUP,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION TO CONTINUE HEARING
ON DEFENDANT’S BILL OF COSTS

 

lt appearing to the Clerk, Defendant’$ Motion to Continue Hearing on Defendant’S Bill
of Costs is well taken, and is GRANTED. The hearing on the taxation of costs is re-Set for
Tuesday, Septernber 20, 2005, at 10:00 a.rn., in the Clerk’s office located on Room 262, U.S.

Courthouse, 1 l l South Highland Avenue; Jackson, Tennessee.

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i“lc`)’MAS ivi. GOULD
cLERK oF COURT

Date: Q,a?;`[{¢/{' z/M ]/‘-

 

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with Rule 58 and,'or,79 (a) FF\CP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
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Honorable J ames Todd
US DISTRICT COURT

